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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF
                             ILLINOIS EASTERN DIVISION



  GAMON PLUS, INC. AND GAMON                 )
  INTERNATIONAL, INC.,                       )
                                             ) Civil Action No. 15-cv-8940-CRN-YBK
                         Plaintiffs,         )
  v.                                         )
                                             )
  CAMPBELL SOUP COMPANY,                     ) Judge Charles R. Norgle
  MEIJER, INC., THE KROGER CO.,              ) Magistrate Judge Young B. Kim
  AND TRINITY MANUFACTURING,                 )
  L.L.C.                                     )
                                             )
                         Defendants.         )


           JOINT CLAIM CONSTRUCTION CHART AND STATUS REPORT

       Pursuant to the Scheduling Order (Dkt. 159) and LPR 4.2(f), Plaintiffs Gamon Plus, Inc.

and Gamon International, Inc. (collectively “Plaintiffs”) and Defendants Campbell Soup

Company, Meijer, Inc., The Kroger Co., and Trinity Manufacturing, LLC (collectively

“Defendants”) submit this Joint Claim Construction Chart and Status Report.

       As required by LPR 4.2(f)(1), a joint claim construction chart that sets forth the eight

claim terms/phrases addressed in the claim construction briefs, and both sides’ proposed

constructions, is attached as Exhibit A.

       LPR 4.2(f)(2) requires a joint status report containing the parties’ proposals for the nature

and form of the claim construction hearing. The Court has not yet set a claim construction

hearing. See Dkt. No. 159.

       There are eight claim terms at issue. While the parties will present their arguments

according to the Court’s preference, the parties propose to conduct the argument one term at a
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time in order of Terms 1-8. The parties currently expect that the hearing will take approximately

two hours, beginning with (i) each side (Plaintiffs first, then Defendants) having a total of no

more than 15 minutes to present an introduction and tutorial regarding U.S. Patent Nos.

8,827,111 (“the ’111 Patent”) and 9,144,326 (“the ’326 Patent”); and followed by (ii) each side

taking turns, with Plaintiffs arguing first and Defendants arguing second for each of Terms 1 and

2 and with Defendants arguing first and Plaintiffs arguing second for each of Terms 3-8 alleged

by Defendants to be indefinite, for a total of about 50 minutes for each side.

       The parties agree that the claim construction hearing should be limited to attorney

argument and do not intend to present live witnesses at the hearing.


Dated: May 12, 2022                              Respectfully submitted,



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                                                              Exhibit A

                                                    ’111   ’326                   PLAINTIFFS’                DEFENDANTS’
    NO.     CLAIM TERM/LIMITATION                 PATENT PATENT                    PROPOSED                    PROPOSED
                                                  CLAIMS CLAIMS                CONSTRUCTION                 CONSTRUCTION
    1     “a plurality of generally cylindrical   17, 27 1                 Plain and ordinary meaning, “a plurality of products
          products all having substantially                                no further construction     having a shape of or relating
          equal diameters”                                                 necessary.                  to a cylinder where each of
                                                                                                       the products has
                                                                                                       approximately the same
                                                                                                       outer diameter”

    2     “adjacent”                              17, 27    1, 3, 12, 17   Plain and ordinary meaning, “next to or near”
                                                                           no further construction
                                                                           necessary.

    3     “the stop structure of said second chute 17                      Plain and ordinary meaning, Indefinite.1
          being disposed above the dispensing                              not indefinite.
          opening of said first chute a vertical                                                        Defendants submit that the
          distance and offset rearwardly from the                          Plaintiffs submit that the   entire clause is indefinite as
          stop structure of said first chute a                             clause recites functional    an improper mixed
          horizontal distance greater than the                             language indicating a        apparatus-use claim under
          diameter of the products such that a                             capability of the claimed    IPXL Holdings, L.L.C. v.
          forwardmost product of the products in                           structure rather than actual Amazon.com, Inc., 430 F.3d
          the first chute can only be properly                             use, and thus is not         1377, 1384 (Fed. Cir. 2005).
          removed from the first chute, by                                 indefinite under
          lifting said forwardmost product up to
                                                                           MasterMine Software, Inc.    Defendants also submit that
          a level wherein the forwardmost
                                                                           v. Microsoft Corp., 874      the phrase “properly
          product is at least in part horizontally
          forward of the dispensing opening of
                                                                           F.3d 1307, 1313 (Fed. Cir.   removed” is indefinite as
          the second chute”                                                2017).                       impermissibly subjective.

1
  A finding of indefiniteness would result in dependent claims 18, 19, 24, 25 being indefinite as well. Ibormeith IP, LLC v. Mercedes-
Benz USA, LLC, 732 F.3d 1376, 1378 (Fed. Cir. 2013).
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                                                     ’111      ’326             PLAINTIFFS’                    DEFENDANTS’
    NO.     CLAIM TERM/LIMITATION                  PATENT    PATENT              PROPOSED                       PROPOSED
                                                   CLAIMS    CLAIMS            CONSTRUCTION                   CONSTRUCTION

                                                                           Plaintiffs also submit that
                                                                           the phrase “properly
                                                                           removed” should be
                                                                           construed according to its
                                                                           plain and ordinary meaning
                                                                           (i.e., by lifting said
                                                                           forwardmost product up to a
                                                                           level wherein the
                                                                           forwardmost product is at
                                                                           least in part horizontally
                                                                           forward of the dispensing
                                                                           opening of the second
                                                                           chute), and is not indefinite.

    4     “wherein the horizontal distance that    18, 27                  Plain and ordinary meaning, Indefinite.5
          the stop structure of the second chute                           not indefinite.
          is offset rearwardly from the stop                                                            Defendants submit that the
          structure of the first chute is                                  Plaintiffs submit that the   clause is indefinite as an
          sufficient that one of the products                              clause recites functional    improper mixed apparatus-
          removed by a user from the rack can                              language indicating a        use claim under IPXL.
          be replaced on the rack [and]2                                   capability of the claimed
          supported [with the replaced                                     structure rather than actual
          product]3 [by]4 resting directly on a                            use, and thus is not

2
  “and” is found only in claim 27 (and its dependents) of the ’111 Patent.
3
  “with the replaced product” is found only in claim 18 (and its dependents) of the ’111 Patent.
4
  “by” is found only in claim 27 (and its dependents) of the ’111 Patent.
5
  A finding of indefiniteness would result in dependent claims 18, 19, 24, 28, 33 and 35 being indefinite as well. Ibormeith IP, LLC v.
Mercedes-Benz USA, LLC, 732 F.3d 1376, 1378 (Fed. Cir. 2013).
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                                                     ’111         ’326             PLAINTIFFS’                   DEFENDANTS’
    NO.     CLAIM TERM/LIMITATION                  PATENT       PATENT               PROPOSED                     PROPOSED
                                                   CLAIMS       CLAIMS           CONSTRUCTION                   CONSTRUCTION
          rearward portion of said forwardmost                               indefinite under
          product in the first chute”                                        MasterMine Software.

    5     “wherein the stop structure of the       27                        Plain and ordinary meaning, Indefinite.6
          first chute is located at a horizontal                             not indefinite.
          distance forward of, and at a vertical                                                          Defendants submit that the
          distance lower than, the stop                                      Plaintiffs submit that the   entire clause is indefinite as
          structure of the second chute such                                 clause recites functional    an improper mixed
          that when a user removes one of the                                language indicating a        apparatus-use claim under
          products against said stop structure of                            capability of the claimed    IPXL.
          the first chute, the product must be                               structure rather than actual
          lifted vertically out of the first chute                           use, and thus is not
          to a withdrawal height wherein the                                 indefinite under
          product is at least partly horizontally                            MasterMine Software.
          in front of the stop structure of the
          second chute”

    6     “wherein the distance forward of the     28                        Plain and ordinary meaning, Indefinite.
          stop structure of the second chute at                              not indefinite.
          which the stop structure of the first                                                           Defendants submit that the
          chute is located is sufficient that,                               Plaintiffs submit that the   entire clause is indefinite as
          when the product is replaced on the                                clause recites functional    an improper mixed
          rack, said replaced product rests on                               language indicating a        apparatus-use claim under
          the forwardmost product and a                                      capability of the claimed    IPXL.
          second product of the pair resting                                 structure rather than actual
          against the forwardmost product or                                 use, and thus is not
          on the stop structure of the second                                indefinite under
          chute”                                                             MasterMine Software.

6
    A finding of indefiniteness would result in dependent claims 28, 33 and 35 being indefinite as well. Id.
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                                                      ’111         ’326             PLAINTIFFS’                     DEFENDANTS’
    NO.      CLAIM TERM/LIMITATION                  PATENT       PATENT              PROPOSED                        PROPOSED
                                                    CLAIMS       CLAIMS            CONSTRUCTION                    CONSTRUCTION




    7     “the stop structure of said second                    1              Plain and ordinary meaning, Indefinite.7
          chute being disposed above the                                       not indefinite.
          dispensing end of said first chute a                                                              Defendants submit that the
          vertical distance and offset                                         Plaintiffs submit that the   entire clause is indefinite as
          rearwardly from the stop structure of                                clause recites functional    an improper mixed
          said first chute a horizontal distance                               language indicating a        apparatus-use claim under
          greater than the diameter of the                                     capability of the claimed    IPXL.
          products such that, when a                                           structure rather than actual
          forwardmost product of the products                                  use, and thus is not
          in the first chute is removed from the                               indefinite under
          first chute by lifting said                                          MasterMine Software.
          forwardmost product up to a level
          above the stop structure of the first
          chute, the forwardmost product is at
          least in part horizontally forward of
          the dispensing end of the second
          chute”

    8     “wherein the horizontal distance that                 9              Plain and ordinary meaning, Indefinite.8
          the stop structure of the second chute                               not indefinite.
          is offset rearwardly from the stop                                                               Defendants submit that the
          structure of the first chute is                                      Plaintiffs submit that the  entire clause is indefinite as
          sufficient that one of the products can                              clause recites functional   an improper mixed

7
    A finding of indefiniteness would result in dependent claims 2, 3, 9, 10, 12, 15-17 being indefinite as well. Id.
8
    A finding of indefiniteness would result in dependent claim 17 being indefinite as well. Id.
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                                                 ’111     ’326          PLAINTIFFS’                  DEFENDANTS’
NO.     CLAIM TERM/LIMITATION                  PATENT   PATENT           PROPOSED                      PROPOSED
                                               CLAIMS   CLAIMS       CONSTRUCTION                  CONSTRUCTION
      be placed on the rack supported with                       language indicating a          apparatus-use claim under
      said product resting directly on a                         capability of the claimed      IPXL.
      rearward portion of said forwardmost                       structure rather than actual
      product in the first chute and in a                        use, and thus is not
      position forward of the stop structure                     indefinite under
      of the dispensing end of the second                        MasterMine Software.
      chute”
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                                  CERTIFICATE OF SERVICE


       I hereby certify that on May 6, 2022 the foregoing document was filed via the Court’s

CM/ECF system, which will automatically serve and send email notification of such filing to all

registered attorneys of record.

                                            /s/ Cristina Q. Almendarez
                                           One of the attorneys for Gamon Plus, Inc. and
                                           Gamon International, Inc.
